         Case 1:22-cr-00207-WMR-LTW Document 51 Filed 04/26/23 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
                                1:22-cr-00207-WMR-LTW
                                      USA v. Hayes
                               Honorable William M. Ray, II

                  Minute Sheet for proceedings held In Open Court on 04/26/2023.


   TIME COURT COMMENCED: 11:25 A.M.
   TIME COURT CONCLUDED: 12:40 P.M.               COURT REPORTER: Geraldine Glover
   TIME IN COURT: 1:15                            DEPUTY CLERK: Sherri Lundy
   OFFICE LOCATION: Atlanta

DEFENDANT(S):       [1]Dion Marquise Hayes Present at proceedings
ATTORNEY(S)         Drew Findling representing Dion Marquise Hayes
PRESENT:            Marissa Goldberg representing Dion Marquise Hayes
                    Zachary Kelehear representing Dion Marquise Hayes
                    Erin Spritzer representing USA
PROCEEDING
                    Sentencing Hearing(Sentencing Hearing Non-evidentiary);
CATEGORY:
MINUTE TEXT:        Counsel argued sentencing time. Defendant allocuted. Defendant
                    sentenced as to Count 1 of the Criminal Indictment and advised of appeal
                    rights. See Judgment and Commitment for sentence. CUSM
HEARING STATUS:     Hearing Concluded
